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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                        CRIM. NO. 13-20495
              Plaintiff/Respondent,
                                                        Paul D. Borman
v.                                                      United States District Judge

ERNEST THOMPSON,                                        Elizabeth A. Stafford
                                                        United States Magistrate Judge
              Defendant/Petitioner.

_____________________________/


 ORDER ADOPTING MAGISTRATE JUDGE ELIZABETH A. STAFFORD’S REPORT
 AND RECOMMENDATION AND DENYING DEFENDANT-PETITIONER’S MOTION
   TO VACATE AND/OR CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255

       On February 24, 2016, Magistrate Judge Elizabeth A. Stafford issued a Report and

Recommendation (ECF No. 279) recommending the Court deny Defendant/Petitioner Eric

Washington’s Motion to vacate and/or correct sentence pursuant to 28 U.S.C. § 2255 (ECF No.

234). There having been no objections filed within the time period allowed, the Court hereby

ADOPTS the Report and Recommendation and DENIES Defendant/Petitioner’s motion.



                                          s/Paul D. Borman
                                          PAUL D. BORMAN
                                          UNITED STATES DISTRICT JUDGE

Dated: March 29, 2016
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                                 CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney or party
of record herein by electronic means or first class U.S. mail on March 29, 2016.


                                             s/Deborah Tofil
                                             Case Manager




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